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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 19 CR 226-1
              v.
                                              Judge Virginia M. Kendall
ROBERT M. KOWALSKI

      GOVERNMENT’S STATUS REPORT REGARDING DEFENDANT
                    ROBERT M. KOWALSKI

      The UNITED STATES OF AMERICA, through JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby provides this

Court with the government’s status report regarding defendant Robert M. Kowalski.

                   Defendant’s Computer Access at the Chicago MCC

      Staff at the MCC have worked to provide defendant with access to electronic

devices so that he may review his discovery, including by making special

accommodations that exceed the access typically provided to inmates. Since

approximately July 2021, defendant has been allowed at least three hours of “law

library” time a day, seven days a week, during which he can use designated computers

to review his discovery and/or access electronic legal materials such as criminal

statutes, criminal practice guides, and case law.

      Additionally, since approximately September 15, 2021, defendant has also

been provided with his own discovery laptop, which is a device he can take into his

cell and use to review discovery. Defendant is provided with the discovery laptop

Monday through Friday from approximately 8:00am to 4:00pm. He continues to also




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receive the extra three hours of “law library” time every day, including on the

weekends.

                               Discovery to Defendant

         Over the past several weeks, the government conferred with the Federal

Defender Program, who provided to the government a second portable hard drive for

purposes of discovery. Upon receipt, the government loaded onto that hard drive

voluminous electronic records 1 related to Washington Federal, including email

communications and documents stored in Washington Federal’s computer servers.

That production contained over 1,400,000 separate files. 2

         To assist defendant in locating relevant documents, the government ran

certain keyword searches, such as “Kowalski” or “Piorun,” and generated indexes of

the records that contained those search terms. Those indexes are being provided

along with the hard drive.     The government will also accommodate reasonable

requests by defendant for additional indexes to be created using additional search

terms.

         The government attempted to hand-deliver the hard drive to the MCC this

week; however, the hard drive was too large to fit through the legal mail slot at the

Chicago MCC, so the Chicago MCC staff could not take possession of the hard drive.



1 As the government has previously relayed to the Court, these voluminous electronic
files were processed offsite, and the processing time was significant given the volume
of the records.
2 The approximately 1,400,000 files include over 540,000 files that were previously

provided to defendant on June 22, 2021, including check images and electronic
bookkeeping records. See Dkt. 395 at 2-3.

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On Friday, October 1, 2021, the hard drive was mailed to defendant via U.S. Mail, so

it should arrive early the week of October 4, 2021.

                           Defendant’s Ongoing Appeals

      Defendant still has two ongoing appeals related to this case, docketed as case

number 21-2253 and 21-2310. Case number 21-2253 was docketed with the Seventh

Circuit Court of Appeals on or about July 7, 2021; case number 21-2310 was docketed

with the Seventh Circuit Court of Appeals on or about July 19, 2021.

      While an interlocutory appeal is pending, those periods of delay “shall be

excluded in computing the time” by which a trial must commence for purposes of the

Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(C).

                                       Respectfully submitted,

                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                 By:   s/ Michelle Petersen
                                       MICHELLE PETERSEN
                                       Assistant United States Attorney
                                       United States Attorney=s Office
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                                       (312) 886-7655
Dated: October 1, 2021




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                          CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that in

accordance with Fed. R. Crim. P. 49, Fed. R. Civ. P. 5, LR 5.5 and the General Order

on Electronic Case Filing (ECF), that the Government’s Status Report Regarding

Discovery Tendered to Robert M. Kowalski will be mailed to the defendant at the

Chicago MCC the next business day after filing.

                                      /s/ Michelle Petersen
                                      MICHELLE PETERSEN
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